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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
JESSE WARD,
                                    Plaintiffs,
                                                                          18 CIV 7268 (PGG)

                 -against-                                           DEFAULT JUDGMENT
COMPOUND ENTERTAINMENT LLC,
                                Defendant.
---------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED, AND DECREED, that pursuant to the

Court’s Order dated October 16, 2020, on July 31, 2020, this Court adopted Judge Moses’ Report

and Recommendation and awarded Plaintiff $2,500 in statutory damages and $3,025 in attorney’s

fees and costs under the Digital Millennium Copyright Act; accordingly, judgment is entered for

Plaintiff, and this case is closed.

DATED: New York, New York
       October 16, 2020
                                                             RUBY J. KRAJICK
                                                             __________________
                                                               Clerk of Court

                                                       BY: _________________
                                                              Deputy Clerk
